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                            UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF LOUISIANA

 In Re:

           Philip Guidry                                    Case No. 18-10677
           Debbie Guidry
              Debtors                                       Chapter 7

                                  ORDER SETTING HEARING

          On the court’s motion, considering the trustee’s ex parte Application to Employ BK Global

[P-39], the record of the case and applicable law,

          IT IS ORDERED that a hearing will be held on the trustee’s Application to Employ [P-39]

on December 19, 2018 at 2:00 p.m. at the United States Bankruptcy Court for the Middle District

of Louisiana, 707 Florida Street, Room 222, Baton Rouge, Louisiana.

          IT IS FURTHER ORDERED that any objection be filed and served no later than December

17, 2018 at 12:00 noon. No further responses, supplementation or memoranda are allowed without

prior leave of court.

          IT IS FURTHER ORDERED that the trustee give notice of the hearing to all parties entitled

to notice no later than December 6, 2018.

          Baton Rouge, Louisiana, December 6, 2018.

                                     s/ Douglas D. Dodd
                                    DOUGLAS D. DODD
                            UNITED STATES BANKRUPTCY JUDGE
